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                                          Franchise        Law /,/PeaxLAWGrouPe
                                          Franchising Businesses                BUSINESS & FRANCHISE LAW


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                                                                    Dwect: 503-332-4556/ Toll Free: 300-880-5132
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  By Email (Copy by Mail)

                                           December 5, 2019

  Stem Law, PC
  Aitn: Stacy Stein
  10200 E. Girard Ave., Suite C250
  Denver, CO $0231
  Email: StacyStein@mailovo.com

                      CONFIDENTIAL SETTLEMENT COMMUNICATION
                              FEDERAL RULE OF EVIDENCE 408

                 Your Infringement of Peak Law Group® and Peak Franchise Law® Service
                 Marks

  Dear Stacy Stein:

         IT has recently come to my attention that you ate using the service mark Mountain Peak
  Law Group (© promote your law practice, including online at
  nttps: //www.mountainpesklawgroup.com/. You also have applications pending with the United
  States Patent and Trademark Office (USPTO) for this service mark (application serial number
  $8618399) and the related logo (application seriat number 88618771).

         My firm operates under the names Peak Law Group® and Peak Franchise Law® and
  related logos. My firm has several fiederal trademark registrations and applications with the
  USPTO as listed on the attached Appendix (the “Marks”). The registrations are still active, and
  my fm continues to use each registered Mark. See, for example, the following domains:
  https://peak lawgroup.com/ and https://www.peakfran chiselaw.com/.

         Under applicable ficderal trademark law, these registrations give my firm the exclusive
  right t© use the Marks in the entire United States of America. My firm also has common lw
  rignts in its Marks as a result of being the senior user of the Marks in interstate commerce. My
  firm provides franchise and trademark legal services to clients nationWide as these practice areas
  focuS primarily on federal law.

        Over years, my firm has spent significant sums to promote its services that are provided

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  under its Marks. As a result of my firm’s promotional] efforts and high-quality legal services
  provided under the Marks, the Marks have acquired a valuable reputation among the consuming
  public. Therefore, ] was very concerned to learn of your existing uses and pending USPTO
  ap plications.

         Under relevant federal and state trademark law, only the likelihood of confusion is needed
  to establish trademark infringement. Two key factors in the likelihood of confusion analysis are:
  (1) the similarities between the compared marks and (2) the relatedness of the compared
  services.

         Similarity of the Marks. Under the legal test, the marks are to be compared in their
  entireties for similarities in sound, appearance, connotation, and commercial impression. in this
  case, Mountain Peak Law Group \s identical to Peak Law Group® except for the addition of the
  word “Mountain.” As the word “Mountain” ts clearly related to the “Peak,” the mark you are
  using gives the same connotation and commercial impression as my firm’s Marks. It also is very
  similar in sound and appearance.

           Further, there are significant similarities between the logo used on your website and my
  firm’s registered trademark for the Peak Franchise Law logo. Both contain a similar green color
  and both emphasize the word Peak. Both depict images of mountain peaks. Be advised that even
  if the logos were not similar, trademark infringement still exists because of the confusingly
  similar nature of the words themselves.

         Similarity of the Services. Under the applicable legal standard, the compared services
  need not be identical or even competitive to find a likelihood of confusion. Rather, likelihood of
  confusion exists when the services are related in some manner such that they could confuse
  customers to believe that the services emanate from the same source. In this case, the conflict ts
  clear because both companies provide legal services. In fact, your pending applications with the
  USP1O include class 45 for “Legal services.“ My firm's registrations are under class 45 and
  include the general classification of “Legal services” plus other more detailed descriptions.

         Your infringing uses are likely to confuse customers as to the actual source of the
  services. Therefore, you are using the goodwill created by my firm over time and at great
  expense for your own profit and to my firm’s disadvantage.

        Your unauthorized use of marks that are confusingly similar to my firm’s Marks violates
  the Federal Lanham Trademark Act and state laws regarding trademark infringement. unfair
  competition, and brand dilution. Accordingly, J] must ask that you:

          I.     Provide me with written assurances no later than December 20,2019 that you
  will immediately cease any use or plans to use the mark “Mountain Peak Law Group” or any
  similar mark for any goods or services, either in online or conventional media; and

           2.      File to cancel your pending applications with the USPTO by December 20, 2019
  and provide me with written confirmation of the same. Be advised that my firm anticipates
  contesting the registration of your marks with the USPTO if you refuse to cancel your pending
  applications.

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         lf you respond as requested above, my firm will consider giving you a reasonable period
  of time in which to phase out your use of the infringing marks.

         It you fail to meet these requests, my firm will zealously enforce its legal rights.
  Remedies for trademark infringement Include monetary damages, profits in connection with the
  uniawiul use, statutory damages, and if the violation is willful, then up to three times the amount
  of damages plus profits and attorneys’ fees. My firm anticipates an amicable resolution.

        We ‘ook forward 0 your prompt reply and attention to these important matters.

                                        Sincerely.
                                        PEAK LAW GROUP, LLC


                                         gun 5 Smit
                                       Ryan D. Smith
                                       Attorney/Owner




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  Peak Law Group, LLC has registered the following marks on the Principal Register of the
  USPTO:

  Mark Description                                        International | Registration | Registration
                                                          Classification             Date           Number
  Peax Law Group                                          IC 045. US 100 101. G      July 3, 2012   4.167,976
  (standard characters)                                   & S: Legal
                                                          consultation serviees:
                                                          Legal services; Legal
                                                          services, namely,
                                                          providing customized
                                                          documentation,
                                                          mformation,
                                                          counseling, advice and
                                                          consultation services in
                                                          all areas of business
                                                          law, franchise aw and
                                                          trademark law
                                                           IC 045. US 100 101. G     June 6, 2014   9,217,436
                                                          & S: Legal advisory
                          franchise Low   feats
                                      consultation services:
                      Franchising Successlul Businesses
                                                          Legal services; Legal
                                                          services, namely,
                                                          preparation of
                                                          applications for
                                                          trademark registration;
                                                          Legal services, namely,
                                                          trademark maintenance
                                                          services; Attorney
                                                          services, namely,
                                                          representation of
                                                          clients mn franchise,
                                                          trademark and business
                                                          matters; Professional
                                                          legal consultations
                                                          relating wo franchising;
                                                          Providing legal
                                                          services in the field of
                                                          franchise law,
                                                          trademark law,
                                                          intellectual property
                                                          law, business law,
                                                          merger and acquisition
                                                          law.



  4|Trademark Infringement Letter
